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             EXHIBIT 2
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                      SUR-REBUTTAL REPORT OF DR. CRAIG MOlGAARD
                                     (Epidemiology)

      1.    I am Dr. Craig A. Molgaard, Professor and Chair of the School of
Public and Community Health Sciences, College of Health Professions and
Biomedical Sciences, Skaggs Building 353, Missoula, Montana 59812.

        2.     Background and Qualifications. I hold a PhD. in anthropology/
health and medical sciences with an MPH in epidemiology, with both degrees
earned at the University of California at Berkeley. I have been a National Institute
of Heart, Lung and Blood Diseases post-doctoral fellow at UC Berkeley, an NIH
pre-doctoral trainee at UC Berkeley, an instructor and research fellow at the
Mayo Clinic, and have held faculty positions at the Graduate School of Public
Health at San Diego State University (Assistant, Associate and Full Professor
and Division Head, Division of Epidemiology and Biostatistics), at the University
of Kansas School of Medicine-Wichita (MPH Program Director, Vice-Chair, Chair,
Associate Dean for Research, Department of Preventive Medicine and Public
Health), at the University of Montana (Professor and Chair, School of Public and
Community Health Sciences) and at Washington State University (Research
Associate, Intercollegiate Center for Nursing Education). I have also been a
Visiting Professor in the Department of Primary Care and Prevention at the
University of Oxford in England, and have also been a Visiting Professor at
institutions in Denmark and Germany. I have received additional post-graduate
training in epidemiology at the University of Minnesota Surnmer Program and the
European Epidemiology Association Program in Florence, Italy.

       I am a chronic disease epidemiologist and researcher, and am the author
or co-author of over 160 papers in the areas of epidemiology, environmental
health, social and behavioral health, and health promotion. I have carried out
research in international health in Denmark, Germany, Finland, Great Britain,
Japan, Mexico, and India.

        I have served on the editorial boards of Neuroepidemiology and
Cephalagia, and on various review panels for the Centers for Disease Control,
the state of California, and the state of Kansas. I received the Samuel Crumbine
Medal from Kansas Public Health Association. My research has been funded by
the National Cancer Institute, the Environmental Protection Agency, the National
Institute of Ageing, the Kansas Health Foundation, the California Public Health
Foundation, the Robert Wood Johnson Foundation, and the Centers for Disease
Control, among others.

         3.        Attached to this report are:
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         a.        A copy of my CV, which includes all publications within the last 10
                   years.

         b.        A list of the primary documents relied upon for this report, and
                   compensation information.

         c.        A copy of my testifying history for the past four years.

       4.    This report primarily responds to W.R. Grace experts Dr. S.H.
Moolgavkar (epidemiology) and Dr. H. Ory (epidemiology), and responds in part
on epidemiologic matters to the reports ofW.R. Grace experts Dr. DA Henry,
Dr. J. Parker, Dr. D. Weill, and Asbestos Claimants Committee experts G.
Friedman, Dr. G. Stockton, and Dr. L. Welch.

       5.    Whitehouse (2004). I have reviewed the publication titled
Whitehouse (2004), "Asbestos-Related Pleural Disease Due Tremolite
Associated With Progressive Loss of Lung Function: Serial Observations in 123
Miners, Family Members, and Residents of Libby, Montana," Am J Ind Med
46:219-225. I have reviewed the materials and methods for the report. The
Whitehouse report follows the definition of a study by Olsen and Basso (2001) in
Teaching Epidemiology (2 nd Ed. 2001) Oxford University Press: "A study is a
process - documented throughout from design to execution - that aims to
provide empirici,lI evidence on a given issue." Epiaemiol6gy can itself be defined
as the study of the distribution of disease and injury in a population and the
determinants of that distribution. Furthermore, the distinction is often made in
epidemiology between descriptive and analytic epidemiology. The Whitehouse
report is an example of a descriptive study, which as defined by Last in A
Dictionary of Epidemiology (2001, Oxford University Press), is "A study
concerned with and designed only to describe the existing distribution of
variables, without regard to causal or other hypotheses. Contrast ANALYTIC
STUDY. An example is a community health survey, used to determine the health
status of the people in a community. Descriptive studies, e.g., analyses of cancer
registry data, can be used to measure risks, generate hypotheses, etc." The
Whitehouse study is an example of descriptive epidemiology. See also, "The
Patient Record in Epidemiology," Scientific American (1981) Kurland and
Molgaard, for examples of descriptive and analytic epidemiology carried out at
the Mayo Clinic.

      6.   Whitehouse et al (2008). I have reviewed the publication titled
Whitehouse, A.C., Black, C.B., Heppe, M.S., Ruckdeschel, J., and Levin, S.M.,
"Environmental Exposure to Libby Asbestos and Mesotheliomas," Am J Ind Med,
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2008, 51 (11 ):877-80. I would also consider this paper an example of descriptive
epidemiology.

      7.     CARD Mortality Study. I have reviewed the study titled "CARD
Mortality Study," as described in the Expert Report of Dr. Alan C. Whitehouse
12/29/08, Supplemental Expert Report of Dr. Alan C. Whitehouse 3/14/09, and
Supplemental Expert Report of Dr. Alan C. Whitehouse May 2009. I consulted
with Dr. Whitehouse and Dr. Frank regarding this study and other matters,
beginning in December 2008. I have reviewed the materials and methods for the
CARD Mortality Study and the Whitehouse Report generally, and they meet
epidemiologic requirements.


Response to Rebuttal Report of Suresh H. Moolgavkar, M.D., Ph.D. 4/6/09.

         8.        This response will follow the subject headings in that report.

         9.        CARD Mortality Study (Dr. Moolgavkar, p.2).

       a.     Protocol. Dr. Moolgavkar's Report of 4/6/09, p.2, states there is "no
protocol" for the CARD Mortality Study. It is not clear what he means by this
remark. Certainly the CARD Mortality Study does not have the detailed protocol
that we would expect of a clinical trial for example, but the examination of a
serres ofcnnicar cases on several variablesofirilerest in a systematic fclsliibn
would qualify as an example of what Last (2001) in a Dictionary of Epidemiology
(Oxford University Press) calls a Case-Only Study, defined as "A method that
analyzes data from a case series, with assumed or theoretical data on prior
distribution of exposure rather than a control group."

       b.     Comparison to insulators. Moolgavkar, p.2, states "Dr.
Whitehouse's comparison of the mortality experience of this cohort of patients
with that of the insulators' cohort does not follow established scientific practice."
This is incorrect. The comparison is described at Expert Report of Dr. Alan C.
Whitehouse, 12/29/08, ~ 32. Dr. Frank has determined that comparison of
diagnosed CARD patients to highly probable diagnosed insulators is a proper
comparison. It would also seem to me a reasonable comparison.

      c.     Age. Moolgavkar, p.3, states that "age ... must be accounted for in
any comparison of the mortality experience of two populations." ... Age profiles
are normally taken into consideration when comparing two populations. However,
as Last (2001), p.145, notes, "unlike the standardized mortality ratio, it (the
proportional mortality ratio) does not require data on the age composition of the
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population but only on the deaths."

       d.     Exposure to cause disease. Moolgavkar, p.3, states: "Dr.
Whitehouse has absolutely no information on the level of exposure to Libby fibers
in his patient population." This is not necessary for an epidemiologic study. Most
descriptive epidemiology studies, including those in the area of asbestos
disease, do not inquire into dose/response relationships.

       The diagnostic criteria for non-malignant asbestos- related disease are set
forth at ATS (2004), "Diagnosis and Initial Management of Non-Malignant
Diseases Related to Asbestos." Am J Respir Crit Care Med 170:691-715. Each
diagnosis of asbestos-related disease requires "evidence of causation by
asbestos as documented by the occupational and environmental history ..."
This means that a level of exposure to Libby fibers sufficient to cause disease
has been found in each patient diagnosed.

       e.      Etiologic fraction. Moolgavkar, p.3, states: "A proper quantitative
analysis of other exposures including, if possible, the estimation of the etiologic
fraction, is imperative before any conclusions can be drawn regarding the
contribution of Libby fibers to disease causation." The etiologic fraction,
according to Last (2001), is also known as the attributable fraction for either
those exposed or a population. The attributable fraction is "The proportion of all
cases that can be attributed to a particular exposure. It is the attributable
difference (attl"ioutaolerisK)dividedoythe inCidel1-c;e raleTIl the groUp. If the
association is causal, this is also the proportion by which the incidence rate
would be reduced if the exposure were eliminated. The attributable fraction may
apply to exposed individuals (Attributable Fraction [Exposed]) or to the whole
population (Attributable Fraction [Population]." However, in the Whitehouse
analysis this is not necessary. As noted above, "evidence of causation by
asbestos" is necessary to each diagnosis for each patient. Causation by Libby
asbestos is established as part of the case-series by the physician investigator.

       Also, in the ATS (2004) diagnostic criteria, "other exposures" are
considered, and the diagnosis must include "exclusion of alternative plausible
causes for the findings." The accumulation of over 1,500 diagnoses of asbestos-
related disease from exposure to Libby asbestos certainly may form the basis for
a conclusion that there was sufficient exposure to Libby asbestos to cause
disease. This is a proper epidemiologic conclusion for a population that is both
occupationally and environmentally exposed.

          10.       Lung Cancer (Dr. Moolgavkar, p.4).

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        a.    "Internal controls." It is unclear what Moolgavkar means by
"internal controls." Last (2001) A Dictionary of Epidemiology, for example, has
no entry for internal controls. Perhaps this is a term from outside epidemiology.
The Cox model or Proportional Hazards model, is defined by Last (2001) as "A
statistical model in SURVIVAL ANALYSIS developed by DR Cox in 1972
asserting that the effect of the study factors on the HAZARD RATE in the study
population is multiplicative and does not change over time." Its purpose is to be a
multivariate form of survival analysis beyond the simpler Kaplan-Meir curves,
specifically for censored data.

       b.     Largely guesswork. Moolgavkar, pA, calculates a "Libby potency
factor for lung cancer, kl=0.0026. Moolgavkar relies on exposure estimates done
by Amandus et al (1987), "The Morbidity and Mortality of Vermiculite Miners and
Millers Exposed to Tremolite - Actinolite - Exposure Estimates," Am J Ind Med
11 :1-14. Exposure estimates are stated at Table 7. They are estimates only. At
page 6, the authors state: "Assumptions were based on NIOSH experience and
the company staff's judgment as to the level of exposure in an LO (Iocation-
operation) relative to other LOs or to the dry milL" The authors call many of the
numbers "guesstimates." McDonald (2004), p.364, states that exposure
estimates at the Libby mine "inevitably entailed many assumptions." Dr.
McDonald states "the estimates of exposure many years (10-50 years) earlier
from scanty environmental data is largely guesswork." See Sebastian et ai, Ann
Occup Hyg 32:201 (1988). Exposure estimates done retroactively for decades
long-pa-slcannof be reliable: TneYcann6tf6rm the l5asilff6rdetailetl
epidemiologic conclusions. Dr. Moolgavkar cannot rely on them. Also, Amandus
and Wheeler (1987) in Part II of their study The Morbidity and Mortality of
Vermiculite Miners and Millers exposed to Tremolite-Actinolite (American Journal
of Industrial Medicine, 1987; 11 (1 ):15-26) are specific in the abstract of their
paper that "Results indicated that mortality from nonmalignant respiratory
disease (NMRD) and lung cancer was significantly increased compared to the
U.S. white male population."

         11.       Mesothelioma (Dr. Moolgavkar, p.5).

      Moolgavkar, p.5, states: "We are able to (compute the potency for Libby
fibers) based on the Sullivan data set. Sullivan reports that there are 15
mesotheliomas in the updated Libby cohort. Using this number and the detailed
exposure history of each member of the cohort ..." First, Moolgavkar has not
disclosed the Sullivan data set, exposure histories and other information he used
in the calculation, so I am not in a position to comment on it.

          In Sullivan (2007), the close of data was end of 2001. Since that time,
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death certificates show five more former Grace workers died of mesothelioma,
(Davidson, Ferguson, Hansen, Nicholls, and Skramstad), and one is alive with
mesothelioma (Chappel). Exhibit 9 to Dr. Whitehouse Report 12/29/08. Dr.
Moolgavkar has not used current information.

     Moolgavkar, p.5, is in error when he adds 31 mesothelioma cases to the
11 mesotheliomas in Whitehouse (2008) for a total of 42. The 31 verified
mesotheliomas are listed at Exhibit 9 to Dr. Whitehouse Report 12/29/08.

         12.       Non-malignant respiratory disease (NMRD) Dr. Moolgavkar, p.6.

       Moolgavkar, p.6, states "It is not possible to compare the potency of (the)
Libby fiber for NMRD.

         13.       The Whitehouse study (Dr. Moolgavkar, p.6) Whitehouse (2004).

       a.    Exposure level. Moolgavkar, p.6, states: "The most serious
problem with the study is that Dr. Whitehouse makes no attempt to relate
decrements in lung function to the level of asbestos exposure in his study
population." This is a problem for the single minded. Few papers address
dose/response. Most asbestos studies do not exam exposure levels. Most
treating doctors focus on the disease process once it is underway. Whitehouse
(2004) is a perfectly acceptable descriptive_epidemiologic study.

      b.     Randomness. Moolgavkar, p.7, item 1, objects that subjects "were
not randomly chosen," and are "not representative of the general Libby
population." Dr. Whitehouse has clarified that the study is representative of the
asbestos disease population, not the general population of Libby. Libby Expert's
Response to Grace's Dr. Moolgavkar, 5/8/07, p.8. Moolgavkar ignores this.

      In a descriptive epidemiologic study, subjects need not be randomly
chosen. Most epidemiology studies are descriptive, and most do not involve
random selection. Most studies are either case series, population based, or
selected cohorts from various registries, not random samples of sUbjects from
the general population of a town or larger area.

       Moolgavkar, p.7, item 1, objects that there was "no control group." This
statement reveals a lack of understanding of pulmonary function testing.
PUlmonary function norms are set in large studies. The "percentage predicted" is
the percent of "normal" for a subject based upon age, height, race, and gender
from large studies, which present a large control group.

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        c.    Two data points. Moolgavkar, p.7, item 2, states: "Dr. Whitehouse
does not use the most appropriate statistical methods." Moolgavkar states that
Dr. Whitehouse should have used all data points in lieu of just two data points,
first and last pulmonary function test. With 123 subjects, the use of two data
points is statistically sound to a high degree of certainty. Once 30 subjects is
exceeded in a study, the statistical validity of observations may go from sufficient
to high degrees of certainty. 123 is a high number of subjects.

      Secondly, for longitudinal studies of lung function loss due to asbestos
exposure, use of two data points is common. See Jones (1989) (two data points
1973 and 1980), Ohlson (1985) (two data points 1976 and 1980), Siracusa
(1984) (two data points 1966 and 1972), Murphy (1971, 1978) (two data points
1966 and 1972), Rom (1992) (mean of three data points), Whitehouse (2004)
(two data points, first and last).

       d.      ANOVA. Moolgavkar, p.7, item 3, states: "Dr. Whitehouse uses
(the ANOVA statistical) method incorrectly." However, the only basis Moolgavkar
offers for this statement is that "Dr. Whitehouse does not say how the Effect of
age can be adjusted using these normative values." The use of pulmonary
function test norms and percentage predicted is elementary to a physician
familiar with lung function testing. Moolgavkar objects that Whitehouse (2004)
does not present the "actual regression equation." It is certainly not standard
practice to do so.

      e.     Regressions. Moolgavkar, p.7, items 2 and 4, states that
Whitehouse (2004) should have performed a linear regression "in which
pulmonary capacity is modeled as a function of covariates such as age, gender,
smoking history, obesity, radiographic changes, pleural thickening, and most
importantly history of exposure to asbestos."

         Age and gender are controlled in the pulmonary function testing norms.

       Dr. Whitehouse has reported in the 5/8/07 response to Dr. Moolgavkar's
report, p.9, that "smoking was not a confounding variable. Dr. Whitehouse, as
part of the peer review process before publication, did perform the calculation.
Results showed that smokers do not have greater lung function loss than never
smokers, and therefore smoking was not a confounding variable." In any event,
there were only eight of 123 subjects in Whitehouse (2004) who were current
smokers. This is too small a number for statically significant results.

      As to obesity, Whitehouse (2004), p.221 states "over the course of the
study group observation, average 8Ml increased less than 1kg/m2 and there was
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no statistical correlation between the increasing 8MI and loss of lung function.

     As to the extent of pleural changes and their effect on lung function,
Whitehouse (2004), p.223, reports that the analysis was done:

         Extent of pleural changes as measured as described on the chest x-
         ray was evaluated in relation to the loss of lung function. There was
         no statistical correlation between the extent of pleural changes
         measured on the chest x-ray and loss of pulmonary function.

       As to any correlation with "asbestos exposure," all subjects had exposure
to Libby asbestos. This was a necessary finding in the diagnosis of asbestos-
related disease in the first place.

       Furthermore Rothman (2001) in Teaching Epidemiology notes at page 73:
"multivariate analysis is helpful to achieve various analytic ends, but its problems
are often understated ... my teaching emphases caution in respect to
multivariate models, which have more pitfalls than stratified analysis, but have
become fashionable, presumably because the technology allows such analyses
to be conducted more readily."

       f.    PFT machines. Moolgavkar, p.8, item S states that Whitehouse
(2004) doesnot indicate"the number of patients whose initial and final
measurements were made on differenf machines ana wnether any iittemptwas
made to cross calibrate the machines." Dr. Whitehouse has reported in the
Response to Dr. Moolgavkar Report, 5/8/07, p.9, that: "this criticism is of no
importance. If properly calibrated, different machines should produce reasonably
uniform results. American Thoracic Society (1991), "Lung Function Testing:
Selection of Reference Values and Interpretative Strategies," Am Rev Respir Dis
144:1202-1218, gives mention to "between instrument variation," but does not
find such variation significant.

       The AMA Guides to Evaluation of Permanent Impairment, Sth Ed., offer
nationwide standards for lung function impairment. In the Guides, all pulmonary
function test sheets are subject to uniform norms, regardless of manufacturer.
As a matter of standard practice, pulmonologists use the same norms for all
equipment, regardless of manufacturer."

       g.     Forced vital capacity. Moolgavkar, p.8, states "Dr. Whitehouse
does not explain how he chose the best available and valid number" for forced
vital capacity. Dr. Whitehouse, in the Response to Dr. Moolgavkar Report,
S/8/07, reports that chest physicians understand that there are standard
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methods, universally followed, as published by the American Thoracic Society.
Such an explanation does not belong in an article on lung function.

      h.     A math error. Moolgavkar, p.8, seems to think that the Whitehouse
(2004) average loss of 3.2% per year among 94 patients is not consistent with an
average loss of 3.6% for the 79 patients with over 1% loss. There is nothing
inconsistent in the numbers. Moolgavkar's observation presents a math error.

       i.     Residents. Moolgavkar, p.8, states that Whitehouse (2004) "does
not provide the information that would be required to determine to what extent
loss of lung function among residents of Libby is attributable to their asbestos
exposure." Moolgavkar's assertion misunderstands the point of the study. First,
the study is on 123 subjects who are representative of the asbestos disease
population. The study does not seek to determine what the extent of loss of lung
function may be "among residents of Libby." The study does determine loss of
lung function due to asbestos exposure in the 123 SUbjects with two lung function
tests. Their common thread is a diagnosis of asbestos disease. As noted above,
alternative plausible causes for the lung function loss were ruled out. There is no
evidence that the loss of lung function was due to other causes. Dr. Moolgavkar
and other Grace experts have had access to the 123 subjects' lung function data
for three years, and present no analysis which shows another cause other than
asbestos exposure. In diagnosing the 123 patients, Dr. Whitehouse ruled out
"alternative plausible causes for the findings." ATS (2004), Official Statement,
p.69i.             ..                .                 ...

         14.       The ATSDR Mortality Study (Dr. Moolgavkar, p.9).

     The study is ATSDR (2002), "Health Consultation - Mortality in Libby,
Montana (1979-1998)."

      a.     Lung cancer deaths. Moolgavkar, p.9, states: "Inclusion of these
50 lung cancer deaths in the revised analyses does not appear to be scientifically
defensible." ATSDR's case finding appears to be an attempt to be scientifically
complete and thorough.

       b.    Not by chance. Moolgavkar, p.1 0, states: "Even if one
mesothelioma death occurred in an individual not occupationally exposed, a
single death could have occurred by chance." Perhaps, but this does not detract
from the fact that many other deaths occurred as a result of occupational and/or
environmental exposure to Libby asbestos.

         c.        Environmental deaths. Moolgavkar, p.11, states: "There is no
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evidence that environmental exposures contributed to the death from
pneumoconiosis.

       This is an unqualified statement. Perhaps Dr. Moolgavkar means that
ATSDR (2002) provides no such evidence. However, as demonstrated above
such a conclusion would be epidemiologically incorrect. It appears that the
statement is intended to be unqualified, since similarly unqualified statements
appear elsewhere in the report. "There is no evidence to suggest that Libby
fibers are any more toxic than other asbestos fibers," p.12. "The potency factors
for Libby fibers indicate also that Libby fibers are considerably less toxic than
crocidolite," pp.12-13.

      Moolgavkar makes sweeping statements based on data that is much as 10
years out of date. Moolgavkar officially recognizes only one environmental
mesothelioma. Though Moolgavkar, p.5, mentions the 11 additional
environmental mesotheliomas in Whitehouse (2008), he does not use them in
any calculations. By any comparison, the number of mesotheliomas in a
population this small is excessive.

       As to environmental "asbestosis" deaths (ICD9-501), Moolgavkar uses
only one such death (Margaret Vatland). Since 1998, CARD mortality study
death certificates show 34 such deaths, with 50 per best available information
review of medical records. See Whitehouse report, 12/29/08, Exh. 7 and listed
spreadsheets. Once again, 6y-anyc()mpar]son~the number ofasbesf6sisceatfls
in a population this small is excessive. It should be noted that Moolgavkar has
been provided with death certificates, but oddly he is not applying them to these
comparisons.

         15.       The ATSOR medical testing study (Dr. Moolgavkar, p.11).

     The study is Peipins et al (2003), "Radiographic Abnormalities and
Exposure to Asbestos-Contained Vermiculite in the Community of Libby,
Montana, USA," Environ Health Persp 111 (14) 1753-59.

       a.     A fine epidemiologic study. Moolgavkar, p.11, states that Peipins
et al (2003) is "not a proper epidemiologic study because the participants were
self-selected and there was no control group." There are basically two types of
epidemiologic studies, descriptive epidemiology and analytic epidemiology, as
described above. Descriptive studies may be self-selected. The potential bias is
disclosed. Descriptive studies may be performed on a cohort without a specific
control group. Peipins et al (2003) is a proper descriptive epidemiologic study. It
is what Last (2001) refers to as a population based study - "Pertaining to a
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general population defined by geopolitical boundaries; this population is the
denominator and/or the sampling frame." Peipins sampled well over 61 % of the
population of Libby and Central Lincoln County. This is very reasonable for a
population based study.

       b.    A population based study. Moolgavkar, p.11, item 1, states that
because "the study group was self-selected ... the study subjects cannot be
considered to be representative of the general population of the Libby area."
Peipins (2003) describes the ATSDR screening process for Libby. The study
found 18% of participates had pleural abnormalities, a very high percentage.
Peipins (2003) acknowledges that there was outreach for the study, that the
participants were volunteers and that there was a problem of "self-selection of
participants," which may over represent the "worried well" of the community.
Peipins (2003) answers the concerns as follows at p.1758:

                   Nevertheless, the medical testing program screened 7,307
                   people in Libby and the surrounding area. Of those, 5,846
                   were from the Libby area. This represents a substantial
                   portion (61 %) of the 9,521 persons in central Lincoln County -
                   a population that has been relatively stable for the past 30
                   years (U.S. Bureau of the Census 2002).

If a majority of a population is screened, it would be an example of a population
based stLJdY.Wifh-sl.lchil large number of participants, even ifnoneof tile
remaining non-participants had pleural abnormalities, the rate of abnormalities for
the Libby area is still about 12% which is significantly in excess of the norm.
Since 61 % of the general population was screened, the study certainly provides
strong evidence of an association between environmental exposure to Libby
fibers and radiographic abnormalities. In the United States it is unusual to get a
61 % response for screening purposes in a population.

      c.     Blinded. Moolgavkar, p.11, item 2, states that "the x-ray readers
were not blinded to the source of the plates, and no control plates were used."
Moolgavkar considers this a "significant limitation" compromising any use of the
study. Peipins et al (2003), p.1758, explains that chest x-ray readers had no
information on the participants, other than that they were in the Libby study.
They had no information on their exposure status. In published studies, chest x-
ray readers often know the source of the chest x-rays in the study. Their training
and procedures ensure proper results. The procedure obviously did not
compromise the study. It was properly published.

         d.        Control group. Moolgavkar, p.12, item 3, objects that "there was
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no control group so that a background rate for radiographic changes could not be
established." Dr. Whitehouse has responded that a background rate of 2-4% for
pleural abnormalities is well accepted.

      In fact, one cannot construct a control group from within the Libby area.
Peipins (2003), p.1758, states: "Given the ubiquitous nature of vermiculite
contamination in Libby, along with historical evidence of elevated asbestos
concentrations in the air, it would be difficult to find participants who could be
characterized as unexposed." Accordingly, Peipins, et al (2003), p.1757,
references studies indicating a 2-4% background rate for pleural abnormalities.
The text Fraser and Pare, Diagnosis of Diseases of the Chest, 4th Ed. 1999,
p.2799, states: "In a review of radiographs of 105,064 civilian and military
employees of the U.S. Navy, 1,914 (1.8%) were interpreted as definitely showing
pleural plaques. (31 )." This is consistent with the background rate at 2-4% for
pleural abnormalities. The background rate is properly established for this
epidemiologic study.

        e.    Conclusion. Moolgavkar, p.11, asserts that the above "significant
limitations ... preclude any conclusions regarding associations between
environmental exposure to Libby amphibole and abnormalities on chest x-rays."
The three limitations discussed by Moolgavkar (self-selection, not blinded, and
no control group) certainly do not preclude use of the Peipins et al (2003) study
in drawing conclusions regarding associations between environmental exposure
to G55yamphrbojeanc:labn()rm-am:res·()n--cFiesfx~rays.·TfiePeipins-efcil(Za03)
study is a classic example of popUlation-based descriptive epidemiology.

       f.     McDonald et al (1988}. Moolgavkar, p.12, states that: "McDonald
et al (1988) found no increase in radiographic abnormalities over controls in a
cohort of vermiculite miners exposed to small amounts of fibrous tremolite." This
was a study in South Carolina. There was no indication that the fiber was the
same as Libby asbestos.


                RESPONSE OF DR. CRAIG MOlGAARD, TO REPORT OF
                           DR. HOWARD ORY, 4/6/09

CARD Mortality Study.

      1.    Selection process. Ory, p.8, asserts that "there is no defined
section process" and "this is not an epidemiologically valid approach." Ory
misreads the selection process description, and wonders if every patient Dr.
Whitehouse has seen has died! The Whitehouse Report 12/29/08, 1131, clearly
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states that "227 patients were identified as deceased through 7/9/08." There
was no statement that all patients were tracked to establish whether or not they
had died. This is not essential. There is no reason that any "unknown" death
would be more or less likely to have died of asbestos-related disease. Dr. Ory's
criticisms stem from not having read the study description carefully. This is a
valid epidemiological approach because it meets the definition of what Last
(2001), Dictionary of Epidemiology (4th Ed.) defines as a case-only study, a form
of descriptive epidemiology.

       Ory, p.8, states: "Dr. Whitehouse makes no attempt to validly define
exposure to Libby vermiculite." A Libby asbestos exposure sufficient for
"evidence of causation by asbestos" is a part of each diagnosis. Patients
diagnosed and now deceased comprise the case series study. Libby exposures
are discussed in other sections of the Whitehouse Report. While more of the
background information for the report will need to appear in a formal publication
of the study, there is nothing in the selection process which would render the
study epidemiologically invalid.

      2.     Cohort of patients diagnosed. Ory, p.9, states that the 186
patients Dr. Whitehouse reports on are "not representative of the Libby
population in general." This is a false issue. No such claim is made in the CARD
mortality study description. The study sample is patients diagnosed with
asbestos related disease, not the LibbYiJoeulCitioningeneral.

        3.    Not "solely" environmentally exposed. Ory, p.1 0, claims to have
read ATSDR (Aug. 2002), "Review of Asbestos Related Abnormalities Among a
Group of Patients From Libby, Montana - A Pilot Study of "Environmental Cases -
Final Report." Ory, p.10, states: "ATSDR only confirmed approximately one-
third of the cases that Dr. Whitehouse describes as being solely environmentally
exposed cases as having no occupational exposure to asbestos." Ory's
statement is in error. The cases were never described as "solely environmentally
exposed." Dr. Whitehouse submitted potential environmental cases to the
ATSDR for further review. ATSDR (Aug. 2002), p.5, states that the group
identified by Dr. Whitehouse had "never been employed by the vermiculite mine."
The description did not say that patients had never had other occupational
exposures in Libby. The ATSDR performed detailed interviews. It found that of
the 22 cases, three had had household contacts with miners, five had been
secondary contractors at the mine, and two had both. Also, the ATSDR found
that four others had been exposed to commercial asbestos from non-vermiculite
sources, (p.8).

         Ory, p.1 0, commits another significant error. Ory states: "Far fewer than
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66% that Dr. Whitehouse reports in sub-paragraph one were exposed to
asbestos solely through environmental exposure." Again we see the word
"solely." Nowhere in the Whitehouse Report 12/29/08, ~ 31 (1) can one find the
statement "solely through environmental exposure." ~ 31 (1) simply separates
mine workers (34%) from community members and family members of miners.
(66%).

       4.    An average 7.5 years of life is lost. Ory, p.12, states: "The age of
death in subjects in the CARD mortality data does not appear to be unusual." It
does appear to be unusual, if asbestos patients are losing approximately 7.5
years each off their life spans. The issue is how long the patients would have
lived had they not been diagnosed with asbestos-related disease.

      Whitehouse Report, 12/29/08. (Note ~ 31 (9) states: "Mean age at
diagnosis was 69.4. Mean age at death was 76.3. Based upon male life
expectancy at diagnosis, an average 7.5 years of life expectancy was lost to
asbestos disease." For this we use the life table referenced on Exhibit 5
Whitehouse Report, 12/29/08 (note life expectancy for a white male age 55 is
79.6. Ory used 76.8 for "55 and over." There is a difference here).

        In terms of the insulators dying 10 years younger than the 79 subjects
deaths in the CARD mortality study, we note that the 79 non-malignant deaths
il1 c1udea significant number of females, with a different pattern of exposure
com-paredtoth-e-fnsulators.lngeneral, It is not surprising from the epidemiologic
point of view that different occupational groups with different patterns of exposure
to different types of asbestos fiber have somewhat different patterns of mortality.
What would be surprising would be if the mortality patterns were very similar.
Note that certain minor changes were made in the CARD mortality study for the
May 2009 Dr. Whitehouse Report. There are now 76 non-malignant deaths. The
comparisons made at ~ 32, Whitehouse Report May 2009 are epidemiologically
sound.

       5.    Death rate. The Whitehouse Report 12/29/08, ~ 32, states: "The
62% death rate from asbestos disease appears to be the highest reported for any
cohort in the United States." Ory, p.13, responds: "This statement is logically
impossible because, as noted above, the CARD mortality data contains only
dead subjects." Ory does not understand that Markowitz et al (1997), Table 2,
also reports only dead subjects. Ory apparently does not understand that two
cohorts of subjects with asbestos disease, with both cohorts now all deceased,
can be compared as to the percentage of each cohort that died of asbestos
related disease. This is the comparison made between the CARD 79 non-
malignant deaths and the 74 non-malignant deaths in Markowitz et al (1997),
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Table 2. Epidemiologically, this comparison could lead to a form of what Last
(2001) considers to be a proportionate mortality ratio. Incidentally, we find no
U.S. cohort diagnosed or undiagnosed which exceeds the 59% rate for death by
non-malignant asbestos-related disease in the CARD mortality study.


ATSDR (2002) Mortality Study.

         6.        Ory, p.16, reviews the problems with the ATSDR (2002) study.

        (1)   Death Certificates alone. Many mortality studies rely on death
certificates alone, and share the problems of that method, most of which center
around underreporting of specific diseases or conditions. Selikoff and Seidman
(1992), Table II, compare the use of death certificates alone to the use of medical
records and best available information, and find that death certificates
underreport "asbestosis" by 53% (201/427).

      (2)  COPD. When Dr. Whitehouse testifies about misclassification as
COPD, he testifies from experience with deaths among Libby asbestos disease
patients.

         (3)  Primary cause. Ory, p.17, states: "Dr. Whitehouse's third criticism
ofiheAT§DBrTlortalitystu_dy.corr~c:t1YI1()tElstbatJb~AT§[)ROIlIy looked at
primarily cause of death and did not consider underlying conditions." ATSDR
(2002), p.5, apparently only looked at "primary underlying cause," not all
underlying causes. The statement of case definition and case finding is not
clear. If the ATSDR only considered the top cause on the death certificate, then
asbestosis deaths are significantly understated.

        Ory, p.17, presents another error. In discussion of ATSDR (2002) study of
mortality for Central Lincoln County, Ory states "in order to get to the 40 to 60%
deaths attributable to asbestosis that Dr. Whitehouse claims, all respiratory
deaths would have to be asbestosis." Ory provides no reference for this "claim."
The Whitehouse Report makes no such claim as to the ATSDR study or the
population of Central Lincoln County. The death rate of 62% by asbestos
disease was for the group already diagnosed with asbestos-related disease, not
for all citizens.

         (4)        Out of State deaths. Ory, p.18, presents another error. Ory writes:

        Dr. Whitehouse's fourth criticism, that the ATSDR only collected death
certificates for people who were Libby residents at the time of death, simply is not
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true. On page 2 of the August 2002 ATSDR mortality study, it states "for those
Libby residents dying outside of Montana, death certificates were sought from
their respective states ...

Dr. Ory did not understand that some Libby residents died out-of-state. ATSDR
(2002), p.4 explains:

         MDPHHS provided paper copies of death certificates for most
         decedents documenting Libby as their place of residence at the time
         of death and dying of one of the selected underlying causes. The
         majority of deaths occurred in Montana (88%, 477/542) with a few
         Libby residents dying outside the State (12%, 65/542).

       (5)     Cut off date 1998. Another major shortcoming with ATSDR (2002)
is that its cut off date for data was 1998. Since 1998, from the CARD mortality
study alone, there have been six mesothelioma deaths (five miners), 11 lung
cancer deaths (two miners), and 56 "asbestosis" deaths (24 miners)." See
Whitehouse Report 12/29/08, Exhibit 7 "Summary of Mortality Study Disease
Percentages," and spreadsheets listed for Exhibit 7.

Asbestosis in the ATSDR mortality cohort compared to CARD mortality
data.

       7.    Attempts to compare. Ory, p.18~ attempts to compare the two
studies. Ory trips over apples and oranges. First, the ATSDR (2002) study used
data through 1998, whereas the CARD mortality study used data through 7/9/08.
This is a 10 year difference. Second, ATSDR (2002) considered all deaths in
Central Lincoln County, whereas the CARD mortality study considered only
deaths where there had earlier been a diagnosis of asbestos-related disease.
The two studies are not comparable in the ways Dr. Ory attempts.

      Ory, p. 19, points to "Dr. Whitehouse's claim that non-occupationally
exposed Libby residents have dramatically high mortality from asbestosis." Ory
gives no reference. No such statement is to be found in the Whitehouse Report.
The CARD mortality study did not examine all "non-occupationally exposed Libby
residents." See Dr. Whitehouse Report, 12/29/08, ~ 31.



       "Two asbestosis deaths (Don Johnson and Don Riley) were subtracted because the deaths
were before 1999. One mesothelioma death (Toni Riley) is subtracted, because the death was
before 1999.
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       Ory, p. 19, points to ATSDR (2002), Table 8, presenting one asbestosis
death. The title to the table indicates "excluding former workers." ATSDR
(2002), p.1 0, explains that "former workers" means "former workers at the mining
and milling facility." Ory misunderstands ATSDR (2002), as attributing "one
death to asbestosis among people with no occupational exposure to asbestos."
Ory is in error.

Comparisons of CARD data with Sullivan (2007).

       8.   Bizarre contentions. This section requires little response. Dr. Ory,
p.20, imagines contentions as follows:

                   Dr. Whitehouse's contention that Libby residents with
                   scant environmental exposures have high risks of
                   developing asbestosis.

                   Dr. Whitehouse's contention that individuals whose only
                   exposures were light environmental exposures have
                   risks of asbestosis greater than the very heavy exposed
                   men in the insulators cohort.

                   Dr. Whitehouse's contention that the results of asbestos
                   e)(J)Qsure in Libby are unique.

No quotes or references are given for these "contentions." The Whitehouse
Report 12/29/08 makes no such contentions.

       9.     Epidemiologically comparable. Ory, p.20, disagrees that the
Markowitz et al (1997) analysis of deaths in the insulators cohort is
"epidemiologically comparable" to the CARD mortality study. Ory's opinion that
the studies are not comparable is based upon objections to design of the CARD
mortality study. As discussed above, the selection method was epidemiologically
acceptable. Most studies are on volunteers. Subjects need not be followed over
time, in fact cross-sectional and retrospective (case control, mortality, historical
cohort) studies are common in epidemiology. Apparently a small number of the
186 in the study were referred by law firms. None of Ory's observations
compromise the epidemiological status of the study.

      Again Ory misreads the CARD mortality stUdy. Ory, p.21, states: "The
CARD mortality study reqUired that they all be exposed to asbestos and dead."
No quotes or references given. Instead, the Whitehouse Report 12/29/08, ~ 31,
states that the stUdy required that subjects have "an asbestos related disease
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diagnosis."

      10. "Solely" again. Ory, p.22, believes the Whitehouse Report
12/29/08 says "all patients developed disease solely from their exposure to W.R.
Grace vermiculite." The report does not so state.

        11. Representative. At pages 22-25, Ory offers a number of criticisms
of the Whitehouse (2004) publication. Most relate to Ory's misunderstanding of
the article. In the materials reviewed, I find that in the Libby Experts' Response
to Grace's Dr. Moolgavkar Report, 5/8/07, p.8, Dr. Whitehouse clarified that
"representative" in Whitehouse (2004) means "representative of the Libby area
asbestos disease population." Once this is understood, most of Dr. Ory's
criticisms have no meaning. The paper obviously treats progression in asbestos
pleural disease. It does not analyze demographic issues as Ory suggests.

Where Whitehouse (2004), p.220, speaks of the "491 patients in the clinical
practice," the reader understands that these are 491 patents with asbestos
disease, since that is what the article is about. One does not expect orthopedic
patients in the 491.


      RESPONSE OF DR. CRAIG MOlGAARD TO REPORT OF THE ACC's
                      DR.L..~E:l<:_H,l\IIarch 2009

1.       Cohort of diagnosed asbestos related disease (ARD) patients.

         Dr. Welch, p.2, states:

         Dr. Whitehouse studied cause of death in a case series of patients,
         not a population based cohort.... Since his group of patients does
         not present the entire group of Libby residents, this analysis cannot
         be used to draw conclusions about asbestos-related mortality in the
         entire cohort of Libby.

A cohort of diagnosed ARD patients is a proper cohort in epidemiology. The
CARD mortality study is a proper study in descriptive epidemiology. A Dictionary
of Epidemiology, edited by John M. Last, 4th Ed., defines "epidemiology" as
follows:

         The study of the distribution and determinants of health-related
         states or events in specified populations, and the application of this
         study to control of health problems.
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A "descriptive study" is defined as follows:

         A study concerned with and designed only to describe the existing
         distribution of variables, without regard to causal or other
         hypotheses.

As such, the CARD mortality study may properly be compared to other cohorts of
patients diagnosed with ARD, such as a limited group of persons diagnosed with
ARD and who died.

       Comparability is the key aspect of the field of epidemiology.
Epidemiologists always ask compared to what when looking at their data,
whether the data is descriptive, analytic or clinical. Comparison may occur in
terms of comparison populations, special groups, or controls pers se. For
example, Dr. Frank has determined that the CARD mortality study and the
insulators cohort of 74 deaths by asbestosis at Markowitz et al (1997), Table 2,
are medically comparable.

       The CARD mortality study could be used to draw conclusions about
asbestos-related mortality in the entire cohort of Libby, by simply assuming that
in the entire cohort of Libby there were no additional ARD deaths which were not
CABP_m9rt~Hy~tLJclydElCIths. This is a VElry<;oni>ePJCltiv~Clssurnptic)n of zero
deaths in the rest of the cohort. The conclusion at Dr. Whitehouse Report
12/29/08 ~ 44, that "Libby's mesothelioma rate is certainly the highest in the
United States," is a proper conclusion. It is a proper epidemiologic conclusion
because it rests on comparison with other available mesothelioma rates in the
United States. This is how epidemiologists make judgments about excess
occurrence of disease and excess occurrence of risk. It is standard practice in
epidemiology and public health.

       This line of reasoning is what allows the conclusion of the Dr. Whitehouse
Report 12/29/08, ~ 48, that "the Libby area has the highest asbestosis mortality
in the United States."

      The conclusion is based on comparing observed mortality in an area or
group, to what one would normally expect for that area or group based on data
from other populations. This is a very standard approach used in Occupational
Epidemiology, the pOrimary objective of which is "to identify hazardous workplace
exposures to present occupational disease" (Pierce 2001) in Teaching
Epidemiology (2 nd Ed. 2001) Oxford University Press.

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2.       Death certificates.

       Dr. Welch, p.3, states: "Standard mortality analyses use the underlying
cause of death as determined by a nosologist, someone specifically trained in
determining cause of death." It is clear that not all standard mortality analyses
use this procedure. A physician working within his area of expertise make
determinations on cause of death and routinely does so in epidemiology studies.
Many published epidemiologic studies include determinations on cause of death
without use of a nosologist. Many use categories other than "underlying cause of
death."

        Welch, p.3, states: "The conditions listed in Part II of the death certificate
are not generally used to determine cause of death." The method used in
Sullivan (2007), "any mention" on the death certificate, is common. Most
common is the use of any mention in the underlying cause section of the death
certificate. For better comparability to the insulators studies, the CARD mortality
study has been revisited to evaluate "primary cause" per best available
information and "underlying cause" per death certificates.

3.        Comparability of Libby and insulators' study.

       Welch, p.5, states: "1 conclude that Dr. Whitehouse did not follow the
rn~thQcJl)_<!eJlc:rib_edby. [)r. SelikofLinhis1~9? JlClIJer f()r the use ofbest
evidence." Welch implies that the Libby studies and the insulators studies are
not comparable. It is rare that epidemiologic studies use exactly the same
methods. As Pierce (2001) in Teaching Epidemiology (2 nd Ed. 2001) Oxford
University Press, notes. "Despite the limitations of standardized mortality ratio
(SMR) analyses using the general population as a comparison, this is usually the
most practical option for initial analyses. However, alternative comparison
populations (e.g., regional mortality rates, other employed workers) should also
be considered."

       One could assert that because the CARD doctors were treating physicians
and actually examined all patients in the CARD mortality study, they had much
better information than Selikoff et ai, who used cold records. On the other hand,
the CARD files often do not have all family physician and hospital documents.
The CARD determinations may understate death due to ARD, because where
there was sufficient uncertainty the death was not called out as an ARD death.
The studies are comparable.

4.        Percentage of ARD deaths.

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     The Whitehouse Report 12/29/08, ~ 31, reports 62% of deaths were due to
ARD (malignant and non-malignant). Welch, p.5, erroneously states:

         It appears that if an individual had a clinical diagnosis of "asbestosis"
         or asbestos-related pleural disease then Dr. Whitehouse considered
         his or her death an asbestos related death, even when the primary
         cause of death was (other diseases).

Dr. Welch's observation would lead to a 100% ARD death rate, which was not
the case.

5.       Primary or underlying cause of death.

      At page 5, Dr. Welch writes: "These comparisons are not valid." With the
re-evaluation described in #1 above, the comparisons are increasingly valid.

6.       Cross sectional data.

       Welch, p.8, seems to suggest that the Whitehouse (2004) study be
disregarded, since it uses "cross sectional data." The vast majority of
epidemiologic studies use cross sectional data. It is a perfectly valid approach,
being one of the three basic designs of observational epidemiology (cross-
s_e~ljoncd,cE~e:c_ontrol, cohort.). Kleinbaum,Kupper and Morgenstern,
Epidemiologic Research, ·Wiley &S-orls,1982.· -               - --- ---

7.       Due solely to chance.

         Welch, p.12, writes:

         A change of less than 15% in spirometry values, or a change of less
         than 9% in DLCO could be due to test to test variation. Dr.
         Whitehouse describes an average change of 6.4% in FVC, 6.8% in
         TLC, and 8.7% in DLCO over a three year period. Given the test to
         test variation in these parameters, this change could be due solely to
         chance.

Dr. Whitehouse and Dr. Frank have pointed out that the 15% and 9% points are
incorrect. Even if the 15% FVC and the 9% DLCO could be correct, the three
year lung function loss reported in Whitehouse (2004) could not be "due solely to
chance." Dr. Welch omits to consider that the 15% and the 9% operate plus and
minus, and that there are 123 subjects. The sample size is sufficiently large to
stabilize the average estimate.
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Craig A. Molgaard                                                                              1


                             CRAIG A. MOlGAARD, Ph.D., M.P.H.
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Craig A. Molgaard                                                                                             5


AREAS OF SPECIALIZATION:
Chronic Disease Epidemiology               Neuroepidemiology
Health Promotion                           Social and Behavioral Sciences


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RECENT PRESENTATIONS

1.      Orr, S., MOLGAARD, C.A.,.& Hawley, S.R. (2004). Kansas Public Health Leadership Institute.
        National Public Health Leadership Network 11th Annual Conference: Paper Presentation, Saint
        Louis, Missouri; April 21-23, 2004.

2.       Cook, D., MOLGAARD, C.A., Ablah, E., Fredrickson, D.D., Welta-Hall, R., Jones, T.L., Chesser,
                               r
       ·A.,TCharfce,-D.-(2004 TlleUnivElrsi!y'ofKansas'Meaical"CenteCDepaitmentofHealtll-- - - ".
         Technology Outreach: Response to Terror and Emerging Infections. Bethesda, Maryland; May 25-
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3.      Hawley, SR, Orr, S., & MOLGAARD, C.A. (2004). Developing Community Partnerships and
        Social Capital through Leadership Training. Community Health Crossroads: Critical Issues in
        Community Based Research Partnerships: Poster Presentation, Hartford, CT; June 10-13, 2004.

4.      Hawley, S.R., Orr, S., MOLGAARD, C.A., Hall, G.C., Chesser, A, Jones, T.L., Paschal, AM., &
        Gruhn, R. (2004). Disaster Management: Leadership Training and the Public Health Infrastructure.
        Third International Conference Promoting Global Health: Sharing Visions and Strategies: Poster
        Presentation, Topeka, Kansas; July 11-12, 2004.

5.      Cook, D., MOLGAARD, C.A., Ablah, E., Welta-Hall, R., Fredrickson, D.D., Chance, D., Jones,
        T.L., Chesser, A, Davis, R.J., Grube, D., Skalacki, M., Smoot, R., & Warren, M.B. (2004). Kansas
        Response to Terrorism Training for Health Professionals: AHECs and Social Capital. Presented at
        the 2004 National AHEC Organization Conference from July 31 to August 4, 2004 Baltimore,
        Maryland.

6.      Orr, SA, MOLGAARD, C.A., & Hawley, S.R. (2004). The Kansas Public Health Leadership
        Institute: An Important Step in Statewide Workforce Development. Kansas Public Health
        Association Conference: Poster Presentation, Topeka, Kansas; September 28-29, 2004.

7.      Werder, SF, Frazier, L.M., MOLGAARD, C.A., Hawley, S.R., Pfeiffer, R., & Boyd, D. (2004).
        Resources for Managing Substance Abuse in Crawford County, KS: A Quantitative-Qualitative
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      Community Assessment Project. Submitted to: Kansas Public Health Association Conference:
      Poster Presentation, Topeka, Kansas; September 28-29,2004.

8.    Orr, SA, MOLGAARD, C.A., & Hawley, S.R. (2004). KPHLI and WALD Breakout Session. Kansas
      Public Health Association Conference: Poster Presentation, Topeka, Kansas; September 28-29,
      2004.

9.    Ablah, E., Jones, T.L., MOLGAARD, C.A., Fredrickson, D.D., Wetta-Hall, R, Chesser, A, Chance,
      D., & Cook, D. (2004). Evaiuation of Anti-Terrorism Preparedness Among Kansas Health
      Professionals. Presented at the Annual Kansas Public Health Association Conference: Topeka,
      Kansas; September 28-29, 2004.

10.   Oler-Manske, J.E., Orr, SA, MOLGAARD, C.A., Hall, G.C., Gruhn, R, & Zackula-David, R
      (2004). Kansas Chautauqua Project. American Public Health Association Conference: Poster
      Presentation, Washington, D.C.; November 2004.

11.   Cook, D., Wetta-Hall, R, Jones, T.L., Fredrickson, D.O., Ablah, E., Chance, D., & MOLGAARD,
      C.A. (2004). Terrorism Training in Kansas: Systems and Community Impact of a Statewide
      Training Program. American Public Health Association Conference: Poster Presentation,
      Washington, D.C.; November 2004.

12.   Cook, D., MOLGAARD, C.A., Ablah, E., Wetta-Hall, R., Fredrickson, D.O., Chance, D., Chesser,
      A, Jones, T.J., Davis, R.J., Grube, D., Skalacki, M., Smoot, R, & Warren, M.B. (2004). Can It
      Happen in Kansas: Response to Terrorism and Emerging Infections. American Public Health
      Association Conference: Paper Presentation, Washington, D.C.; November 2004.

13.   Hawley, S.R, Orr, SA, MOLGAARD, C.A., Hall, G.C., Chesser, A, Jones, T.L., Paschal, AM., &
      Gruhn, R (2004). Leadership in Disquieting Times: Training Across Professional Boundaries.
      American Public Health Association Conference: Paper Presentation, Washington, D.C.; November
      2004.

14. . Johnston, J., Ablah, E., Chesser, A, Scanlan, T., MOLGAARD, C.A. (2004). Walkin' Wichita:
      Addressing the built environment and sedentary lifestyle. Kansas Public Health Association
      Conference: Poster Presentation, Topeka, KS; September 28-29, 2004.

15.   Ablah, E., Jones, T.L., MOLGAARD, C.A., Fredrickson, D.O., Wetta-Hall, R, Chesser, A, Chance,
      D., Cook, D. (2004). Evaluation of Kansas health professionals in anti-terrorism preparedness.
      Kansas Public Health Association Conference: Poster Presentation, Topeka, KS; September 28-
      29,2004.

16.   Saville, S., Wetta-Hall, R, MOLGAARD, C., Hawley, S. (2005). A cross-sectional study of an
      evaluation of knowledge and attitudes about asthma among childcare providers. Dental Public
      Health Seminar Series: Oral Presentation, San Francisco, CA; April 5, 2005.

17.   Saville, S., Wetta-Hall, R., MOLGAARD, C., Hawley, S. (2005). A cross-sectional study of an
      evaluation of knowledge and attitudes about asthma among childcare providers. National Oral
      Health Conference: Pre-session Oral Presentation, Pittsburgh, PA; May 1, 2005.
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GRANTS/CONTRACTS/AWARDS: (Principallnvestigater)

  Years                      Title                                                   Source                Amount
1985           ALS and Heavy Metal Exposure                               Faculty Research Award,           $1,000
                                                                          College of Health and Human
                                                                          Services, San Diego State
                                                                          Universit'j

1986            Meritorious Performance and                               San Diego State University        $2,500
                Professional Promise Award

1987            Meritorious Performance and                               San Diego State University        $2,500
                Professional Promise Award

1986-1987      Occupational Risk Assessment for                           March of Dimes Birth Defects     $24,000
               Adverse Reproductive Outcomes .                            Foundation, March of Dimes

1988            Microcomputer Station                                     Basic Science Research              $950
                                                                          Grant, NIH

1988            Meritorious Performance and                               San Diego State University        $2,500
                Professional Promise Award

1989            Meritorious Performance and                               San Diego State University        $2,500
                Professional Promise Award

1989            San Pasqual Reproductive                                  Environmental Protection         $39,200
                Epidemiology Survey                                       Agency and State of California

1990            Meritorious Performance
               ----------------
                                                       and
                               - - - - - - - - - - - - - - _ _--
                                                             ..
                                                                     ..   S~_nQi~g()§lateUniverslty        . $2,5QO
                Professional Promise Award

1990            Microcomputer and Fax Station                             Basic Science Research             $8,000
                                                                          Grant, National Institute of
                                                                          Health

1990            AIDS Dementia                                             Research, Scholarship, and         $5,000
                                                                          Creative Activity Award,
                                                                          California State University
                                                                          System

1987-1990       Seroprevalence of HTLV-I Among                            Army Research and                $48,000
                U.S. Marines Stationed in a                               Development Command, U.S.
                Hyperendemic Area                                         Army

1986-1990       San Diego Epidemiology Project San                        Environmental Protection         $550,000
                Diego Total Resource Recovery                             Agency and State of California
                Program

1991-1992       HIV Seroconversion in the U.S. Navy                       Naval Heaith Research             $15,000
                                                                          Center, U.S. Navy

1992            The Epidemiology of Overuse                               Naval Health Research              $3,900
                Syndromes in the U.S. Navy                                Center, U.S. Navy

1992-1993       Comparison of Physical Therapy                            Naval Health Research              $5,000
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                Treatments of lliotibian Brand             Center, U.S. Navy
                Syndrome and Overuse Syndromes

1992-1993       Neural Shifts and the Epidemiology         Glaxo, Inc.                      $136,280
                of Migraine

.1993           The Epidemiology of Tuberculosis           Research, Scholarship, and         $4,124
                                                           Creative Activity Award,
                                                           California State University

1993-1995       California Chamorro Cohort Project         National Institute of Aging      $159,167

1993-1996       Epidemiologic Surveillance of Lead         State of California              $403,375
                Exposure in Children

1995            Evaluation and Management of               Hansen International Institute     $2,000
                Sexually Transmitted Diseases in           San Diego State University
                Benin

1995-1997       Lead Poisoning Prevention                  Centers for Disease Control      $355,000
                                                           and Prevention

1995-1997       California Distance Learning Project       State of California              $772,944

1997-1998       Quality Improvement Studies                Heartland Health, Inc.            $28,450

1998            Medicaid Patient Access Survey             Heartland Health, Inc.            $22,712

1998            Indigent Health Care Fellowship               McPherson County Area           $4,000
                                                              Health         Council
                                                         - ---------------------



1998            Davis Faculty Development                  Kansas Health Foundation           $3,000
                Scholarship

1998-2004       Master of Public Health Student            Kansas Health Foundation           $5,000
                Scholarships

1998            Master of Public Health Degree             Kansas Health Foundation         $587,000
                Program

1998-2002       Evaluation Component of the                Kansas Health Foundation          $42,000
                Behavioral Risk Date Project

1998-1999       Epidemiology of Injury and Its             Safe Communities Coalition!       $36,240
                Prevention in Wichita, Kansas              Department of Transportation

1999            Livable Communities GIS                    ESRI                               $7,000

2000            Child Care Association Community           Child Care Association             $2,800
                Assessment

1999-2001       Polypharmacy Among Veterans                Via Christi Research Institute   $100,000
                Administration Patients

1999-2008       Kansas Public Health Leadership            Centers for Disease Control      $142,875
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2003-2004           WALD Center-Chautauqua Project                 KDHE                                 $25,000

2002-2009           Workforce and Leadership                       SI. Louis University/ Centers     $225,000
                    Development-WALD Center                        for Disease Control/HRSA

2002-2007           Kansas Public Health Leadership                Kansas Health Foundation          $490,000

2003-2008           Kansas Bioterrorism Preparedness               HRSA                              $296,346
                    Training Evaluation

2005                Informatics Assessment                         Kansas Association of Local          $18,000
                                                                   Health Departments (KALHD)

2005                Incident Command System                        Kansas Association of Local          $21,000
                    Workshops                                      Heaith Departments (KALHD)

2005-2006           Preparedness Evaiuation Projects               Kansas Department of Health       $150,000
                                                                   and Environment (KDHE)



GRANTS/CONTRACTS/AWARDS: (Co-Investigator)

  Years                            Title                                   Source                   Amount
1981-1984           Teratogenic Effects of Low Dose               Environmental Protection           $450,000
                    Maternal Radiation (L. Kurland, P.!.)         Agency
                    Department of Medical Statistics
                    and Epidemiology, Mayo Clinic

1981-1986           Rochester Neuroepidemiology                    National Institute of             $700,000
  -- -- ---------                                                                                   -------_ ..   _-_ .. _----
                    Pro-gra.m-PrOject-(L-:-Korla.n-d;-P:I:)"     - Neorologlc-Cornmonicative-
                    Department of Medicai Statistics               Disorder & Stroke
                    and Epidemiology, Mayo Clinic

1985-1990           Health & Functional Dependency of             National Institute of Aging        $816,000
                    the Minority Aged (P. Stanford, P.!.)         and National Institute of
                    University Center on Aging                    Mental Health
                    San Diego State University

1986-1989           Maternal Pesticide E>.<posure and             The Maternal & Child Health        $465,000
                    Pregnancy Outcome                             & Crippled Children Services
                    (W. Willis, P.!.) Division of Maternal        Research Grant Program
                    and Child Health
                    Graduate School of Public Health
                    San Diego State University
1987-1988           A Bi-National Effort for Preventing           Cowell Foundation                         $7,490
                    Tobacco Use in Tijuiana Public
                    Schools (John Eider, P.!.)
                    Division of Health Promotion
                    Graduate School of Public Health
                    San Diego State University

1987-1992           Project SHOUT-Student Helping                 National Cancer Institute        $1,400,000
                    Others to Understand Tobacco
                    (John Elder, P.!.)
                    Graduate School of Public Health
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Craig A. Molgaard                                                                                20


                 San Diego State University

1988-1993        SANDIOC - San Diego and                  California Health Foundation,   $2,100,000
                 Imperial Counties Organization for       State of California
                 Cancer Control
                 (Sidney Salzstein, P.!.) Department
                 of Pathology School of Medicine
                 University of California, San Diego

1989-1990        Health Status/Lifestyles of Asians,      American Association of           $50,000
                 Pacific Islanders, and American          Retired Persons, Andrus
                 Indians (E. Percil Stanford, P.!.)       Foundation
                 University Center on Aging
                 San Diego State University

1990-1993        Experimental Approach to Tobacco         University of California,        $654,152
                 Control for High-Risk Teens              Berkeley Tobacco Related
                 (John Elder, P.!.)                       Research Program
                 Graduate School of Public Health
                 San Diego State University

1992             Preliminary Assessment: Exposure         San Diego Gas and Electric        $46,112
                 to Electromagnetic Fields and Brain
                 Tumors (Louise Hofherr, P.!.)
                 Graduate School of Public Health
                 San Diego State University

1993-1996        HIV/AIDS Among Native Americans          California Wellness              $380,000
                 (Jean Pickus, P.!.) Southern Indian      Foundation
            .. . J::Le~ltlLGO_lI11,giL

1995-1996        Latino Immunization Project              California State Health         $1,500,000
                 (F. Scutchfield, P.!.) Graduate          Department
                 School of Public Health
                 San Diego State University

1997-1998      . Healthcare Provider Assessment           Heartland Health, Inc.            $11,900
                 Survey (L.M. Frazier, P.!.)

1997-1998        Member Satisfaction Studies              Heartland Health, Inc.             $32,460
                 (D.D. Fredrickson, P.!.)

1997-1999        Sedgwick County Community                Kansas Health Foundation         $300,000
                 Improvement Health Plan
                 (S. Edwards Dismuke, P.!.)
1998-1999        Turning Point Initiative                 Robert Wood Johnson/             $600,000
                 (G. Mitchell, P.!.)                      Kellogg Foundations

1998-2001        MPH Faculty Development Grant            SAMHSA                           $300,000
                 (J. Hagemaster, P.!.)

2000             Environmental Health and Human           EPA                              $100,000
                 Development: An Overview
                 (L.M. Frazier, P.!.)

2001             Kansas Medicaid and SCHIP                Kansas Children's Service        $180,000
·   .
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        Craig A. Molgaard                                                                                           21


                          Disenrollment Evaluation                     League
                          (D.O. Fredrickson, P.I.)

        2003-2004         Regional Public Health-Medicine              Association of American                $49,999
                          Educational Center                           Medical Colleges and the
                          (L.M. Frazier, P.I.)                         Centers for Disease Control
                                                                       and Prevention

        2005-2008        Columbia University Emergency                 HRSA                                  $419,580
                         Preparedness (E. Ablah, P.I.)

        2005-2007         Best Immunization Practices                  Kansas Association of Local           $140,000
                         (A. Paschal, P.I.)                            Health Departments


        COURSES TAUGHT:'"
        Behavioral & Social Science in Public Health                 Doctoral Research in Epidemiology
        Epidemiological Basis for Disease Control                    Epidemiology of Chronic Diseases
        Epidemiology Methods                                         Epidemiological Research
        Field Placement in Epidemiology                              Health of the Public
        History and Theory of Epidemiology                           International Health
        Neuroepidemiology                                            Public Health Practice and the World Wide Web
        Social and Behavioral Epidemiology                           Thesis in Epidemiology

                                       "'Teaching evaluations available upon request

        MEMBER, MASTERS THESIS AND DOCTORAL DISSERTATION COMMITIEES

                       Student                                Title                       Year            Role
        1.                                Recall Bias StUdy in a Toxic Inhalation          1984      Second Member
                                          Evenf-       ----------   - -- - -- ----
        2.    Agnes Bartok, B.S.          Cerebrovascular Disease and Smoking: A           1985      Chair
                                          Case-Control Study

        3.    Linda Cowley, B.S.          Estimating the Need for Epidemiologists          1985      Third Member

        4.    Louise Gresham, B.S.        Amyotrophic Lateral Sclerosis and                1985      Chair
                                          Occupational Heavy Metal Exposure: A
                                          Retrospective Case-Control StUdy

        5.    Kathryn Hallgren, B.S.      The Use of Success or Failure in a               1985      Second Member
                                          Hospital Based Smoking Cessation
                                          Program as an Indicator of Future Services
                                          Utilization
        6.    Craig M. Bone, M.D.         Hospitalization for InjUry and Disease in        1986      Chair
                                          the U.S. Navy: A Comparison of Nuclear
                                          and Conventionally Powered Surface
                                          Ships

        7.    Constance Chambers,         Anorexia Nervosa and Familial Conflict: A        1986      Chair
              B.S.                        Case-Control Study

        8.    Jan Kelley, B.S.            Pregnancy Risk Factors and Reproductive          1986      Chair
                                          Outcomes Among Hispanic Women in the
                                          Comprehensive Perinatal Program
           Case 01-01139-AMC            Doc 22766-4        Filed 08/13/09       Page 45 of 59
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 9.       Laura Granger, B.S.         Physical Health and Social Support in          1986   Second Member
                                      Significant Others of Cystic Fibrosis
                                      Patients and a Comparison Group

 10.     Moshe Engelberg, Ph.D.       Procuring Incentives for Community Health      1986   Second Member
                                      Promotion Programs

 11.     L. Alicia Ryden, R.P.T.,     The Epidemiology of Occupational Low           1986   Chair
         B.S.                         Back Pain and Injury

 12.     Gilberto Chavez, M.D.        Estimated Blood Lead Levels in the             1987   Chair
                                      Mexican Descent Population of the U.S.
                                      Southwest, 1982-1983

 13.     Steven L. Shepherd, B.S.     Psychosociai Correlates of Functional          1987   Second Member
                                      Status in Adults with Cystic Fibrosis

 14.     Mina Lovrich, B.S:           The Relationship Between Fasting Plasma        1987   Chair
                                      Glucose (FPG) and Immunoglobulin E in a
                                      Defined Population: A Cross-Sectional.
                                      Study

 15.     Shea O'Neil, B.S.            Epidemiology of Dog Bites in San Diego         1987   Second Member
                                      County

 16.     Erik H. Willis, B.S.         Corrective Lens Use and the Common             1987   Second Member
                                      Cold

.. 17. .. M<lIicLC()luJJ1JLa, .B,S.   hgglication Qf? Translheor€ltical MOcJelIJo    1988   Second Member
                                      Correlate Acquired Immunodeficiency
                                      Syndrome Attitudes and Knowledge
                                      Among Ethnic Groups

 18.     Robert Langer, M.D.          The Public Health Implications of M.D. Lipid   1988   Chair
                                      and Antihypertensive Interventions for
                                      Persons with Moderate Cardiovascular
                                      Risk

 19.     Sana Loue, M.D.              Alcohol, Cocaine and Marijuana Use as          1988   Chair
                                      Risk Factors for the Development of HIV
                                      Seropositivity and Various Sequeiae

 20.     Chester Nakamura, M.D.       Prevalence of Alcohol Abuse Among the          1988   Chair
                                      Aged
 21.     Vivian Spry, Ph.D.           Recruiting Survey Respondents to Mailed        1988   Second Member
                                      Surveys: Controlled Trials of Incentive and
                                      Prompts

 22.     Eisa Villarino, M.D.         Analysis of the Prevalence at Birth of         1988   Chair
                                      Neural Tube Defects in the State of
                                      California, 1978-1985

 23.    . Kim Yeager, M.D.            The Primary Care Physician's Role in           1988   Second Member
                                      Health Promotion and Sports Medicine -
                                      An Evaluation of Medical Education and
       Case 01-01139-AMC               Doc 22766-4                          Filed 08/13/09                    Page 46 of 59
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                                    Health Services Provision

24.   Moises Nagiel, M.D.           Determination of the Amount of Oral                                          1988   Second Member
                                    Rehydration Solution Given by Mothers in
                                    the Home Setting to Children with Diarrhea
                                    in Mexico

25.   Aiyce Joseph, B.S.            Assessing the Factors Involved in Child                                      1988   Third Member
                                    Abuse

26.   Socra Wi, B.S.                Fluoride and Hip Fractures in California:                                    1989   Chair
                                    An Ecological Analysis

27.   Richard Garfein, B.S.         Bone Density and Physical Exercise                                           1989   Chair
28.   William Meir, B.S.            Caesarian Births and Sequela                                                 1989   Chair

29.   Carol Miller, B.S.            Parkinson's Disease and Smoking                                              1989   Chair

30.   Anita Jones, BA               A Study of the Reliability and Validity of                                   1989   Second Member
                                    Two Stress Measures

31.   Cheryl Brogan, BA             Family Influence on Preschool Children's                                     1989   Second Member
                                    Exercise Behavior

32.   Christa Scheidt-Nave,         A Pilot Study of Community Cholesterol                                       1989   Chair
      M.D.                          Screening

33.   paula Eisenman, B.S.          The Epidemiology of Occupational Needle                                      1989   Chair
                                    Stick Injuries and the Impact of
                                    Implementing a New Needle Disposal
                                    System
                               --   - ---- - -   -- -- --   ------ - - - -- ------------_.   --- - -- -----


34.   Ted Grace, M.D.               Evaluation of Human Papilloma Virus                                          1989   Chair
                                    Infections of the Cervix: A Decision
                                    Analysis Model of Alternative Strategies

35.   Lee Ann Daniels, B.S.         Rubella Vaccination Status and Attitudes                                     1989   Chair
                                    Towards Vaccination Status

36.   Wendy Kaler, B.S.             Prevalence of Illness Among Infants and                                      1989   Chair
                                    Toddlers Cared for in Day Care Centers,
                                    Family Day Care Homes, and at Home

37.   Piera M. Cirillo, B.S.        A Case-Control Study of Pancreatic                                           1989   Chair
                                    Cancer in San Diego, California

38.   Bridget Larson, B.S.          Evaluation of a Worksite Health Promotion                                    1989   Second Member
                                    Program

39.   Mary Garza-Astudillo,         Primary Care Preventive Services: Use of                                     1989   Second Member
      B.S.                          Hispanic and Diabetic Patients As Indices
                                    of Accurate Reporting

40.   Christine Kozik, B.S.         The Relative Importance of Acute Non-A,                                      1989   Chair
                                    Non-B Hepatitis in a San Diego
                                    Community

41.   Bill Bleicher, B.S.           Socioeconomic Status and Breast Cancer                                       1990   Chair
       Case 01-01139-AMC            Doc 22766-4         Filed 08/13/09         Page 47 of 59
Craig A. Molgaard                                                                                    24


                                 Some Methodological Issues

42.   Rafael Laborin-Laniad6,    Tobacco Use Among Seventh Graders in              1990   Chair
      M.D.                       Tijuana, Mexico

43.   Stefanie Norman, B.S.      The Predictive Value of Alterations of the        1990   Second Member
                                 Conjunctival Microcirculation for Non-
                                 Insulin Dependent Diabetes Mellitus

44.   Deirdre Browner, B.S.      Behavioral Components of Cancer                   1990   Chair
                                 Etiology

45.   David Hewitt, M.D.         The Association of Race and                       1991   Chair
                                 Hypertension: A Cross-.Sectional Study of
                                 Whites, Blacks, and Mexican-Americans in
                                 San Diego

46.   Monica Brown, B.S.         Head Injuries to School Children in San           1991   Second Member
                                 Diego County

47.   Stuart Donaldson, B.S.     The Jolly-Fat Hypothesis: A StUdy of              1991   Chair
                                 Obesity and Depression in a Defined
                                 Population

48.   Karen Freeman, B.S.         Is Male Baldness a Predictor of Coronary         1991   Chair
                                  Heart Disease?

49.   Ellen Lefkowitz, B.S.        Geographic Distribution of Ovarian Cancer       1991   Chair
                                   Mortality in the United States: A
                                   Hypothesis Regarding Differences in
                                 . SLinl@11 - - - - - - - - . - -

50.   Andrew Ries, M.D.           Outcome Measures in Pulmonary                    1991   Chair
                                  Rehabilitation: A Multivariate Logistic
                                  Regression Analysis

51.   Lisa Shames, B.S.          Risk Factors Associated with Haemophilus          1991   Chair
                                 Influenza Type B Vaccine Failures: A Case
                                 Control Study

52.   Heather Feigelsen, Ph.D.   Diagnosing Peripheral Arterial Disease:           1991   Chair
                                 The SensitiVity, Specificity and Predictive
                                 Value of Noninvasive Tests

53.   Brenda Robyn, B.S.          Tap Water Consumption and Birth                  1991   Chair
                                  Outcomes: A Case-Control StUdy

54.   Maria Stoecklin, B.S.      A Theoretical Model of Hispanic                   1991   Second Member
                                 Adolescent Sexual Activity: An Exploration
                                 of the Role of Acculturation, Sexual
                                 Attitudes, and the Family

55.   Shelly Rhodes, B.S.         Utilization of a Binding Protein to              1991   Second Member
                                  Determine the Concentration of Cystine in
                                  Urine
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                  56.   Karin Coyne, B.S.          The Role of Social Support and Self-             1991       Second Member
                                                   Efficacy on Exercise Adherence in a Post-
                                                   Cardiac Rehabilitation Population

                  57.   Michael Hurst, B.S.        Lipoprotein (a) Levels in Post-Menopausal        1992       Chair
                                                   Women in Oral Premarin Therapy

                  58.   Joy Zakarian, B.S.         Determinants of Exercise in a High School        1992       Second Member
                                                   Population: An Exploratory Analysis

                  59.   Omar Shafey, B.S.          The Association Between Birth Interval           1992       Chair
                                                   and Nutritional Status Among Iraqi Infants
                                                   and Children After the Gulf War

                  60.   Wesley Stowers, BA         The Wind Among the Reeds                         1992       Third Reader

                  61.   Tamara Clark, B.S.         Relation Between Leisure-Time, Physical          1992       Chair
                                                   Activity and Bone Mineral Density in an
                                                   Older Population

                  62.   James Mudge, BA            Surfer's Ear                                     1992      Third Member

                  63.   Bridget Riley, B.S.        Nutrition and Dementia in a Multi-Ethnic         1992       Second Reader
                                                   Elderly Population

                  64.   William Pierson, BA        Effects of Reagonomic National Health            1992       Third Reader
                                                   Care Budget Cuts on San Diego County
                                                   Death Rates: 1974-1985

- - --   - ----
                  65.   Brya. n_Ja.c ks°!1,M.",.   The Paleodemography of the Pag-Ko                1992       Third Reader
                                                                               - ------------              --- -- ----------------------------
                                                   InClians -6fNew Mexic6-----

                  66.   Michael Bursaw, B.S.       The Epidemiology of Lapse of                     1992       Second Chair
                                                   Consciousness Episodes Among San
                                                   Diego County Residents

                  67.   Sidney Saitzstein, M.D.    Breast Carcinoma in Women in San Diego           1992       Second Reader
                                                   County: 1976 and 1980 vs. 1988 and 1989

                  68.   Renee Matteucci, B.S.      Hispanic Pediatric Trauma Epidemiology:          1992       Chair
                                                   Incidence and Risk for San Diego County-
                                                   1985 to 1990

                  69.   Laurie Schaffroth, B.S.    Breast Cancer Histology and Race                 1992       Chair

                  70.   Jose Relayo, M.D.          Tuberculosis Prevalence in a Metropolitan        1993       Chair
                                                   Correctional Center

                  71.   Fernando Rubinstein,       Management of a Coronary Artery                  1993       Chair
                        M.D.                       Disease: Gender Bias and Temporal
                                                   Trends

                  72.   Vanessa Miguelino, B.S.    A Study of Cerebrovascular Disease and           1993       Chair
                                                   Cigarette Smoking in Women

                  73.   Michael Snedecor, M.D.     Validation of a Physical ActiVity Survey in a    1993       Second Member
          Case 01-01139-AMC        Doc 22766-4         Filed 08/13/09       Page 49 of 59
Craig A. Molgaard                                                                                      26


                                 Population of Runn.ers

74.    Lisa Schamus, B.S.        Epidemiology of Appropriate Measles           1993   Second Member
                                 Vaccination of 2-Year-Old Children in Two
                                 San Diego Communites

75.    Kamala Deosaransingh,     Alcohol Consumption Patterns and Their        1993   Chair
       B.S.                      Association With Motor Vehicle Accidents
                                 in Native Americans
76.    Lynn Turner, B.S.         Epidemiology of Vascular Tone Disorders:      1993   Chair
                                 Migraine Headache and Raynaud's
                                 Phenomenon

77.    Veronica Green, D.D.S.    Outcome from Surgery in the Hospitalized      1993   Chair
                                 Old

78.    Patricia Silva, B.S.      A Stochastic Survival Model of Pediatric      1993   Third Member
                                 Near-Drowning

79.    Katharine Schubert, BA    Variation in Age at Menarche in San Diego     1994   Chair
                                 County: A Study in Reproductive
                                 Epidemioiogy

80.    Micheile De GUire, B.S.   Evaluation Research: Assessing the            1994   Third MefTlber
                                 Effectiveness of the San Diego Options
                                 Program

81.    Eugenia Bastos, B.S.      A Longitudinal StUdy of Blood Pressure        1994   Chair
                                 Changes in Three Exercise Groups Using
      -- ----- _._-_.-
                                 Repeated Measures Analysis Variance
                                   ------   ---- - -   - - - - - - - ----


82.    Anita Valabhji, B.S.      Epidemiology of Epilepsy in the Seychelles    1994   Chair
                                 Islands

83.    Carol J. Horvath, B.A.    Relationship of Lung Function Measures to     1994   Chair
                                 Asbestos and Tobacco Exposure in
                                 Shipyard Workers

84.    Robert Lowok Limlim,      A Multivariate Epidemiologic Analysis of      1994   Chair
       M.D.                      Poisoning Among Teenagers and Young
                                 Adults

85.    David B. Scharf, B.S.,    Multiple Medication and Nutritional           1994   Second Member
       M.D.                      Supplement Use in the Community-
                                 Residing Elderly
86.    Aileen Murphy, B.S.       Air Pollution and Emergency Room Visits       1994   Chair
                                 for Respiratory Illnesses in Montreal: A
                                 Daily Time Series Analysis

87.    Kathleen Carroll, B.S.    Otoacoustic Emission Testing in a Normal      1994   Third Reader
                                 Neonatal Intensive Care Unit

88.    Patrick Olson, M.D.       Epizootiology of Borrelia Burgdorferi In      1994   Second Reader
                                 Canines in San Diego County, California

89.    Temitayo Lagundaye,       A Comparative Study of Hypertension in        1994   Chair
       M.D.                      an Urban and Rural Population in
                Case 01-01139-AMC        Doc 22766-4               Filed 08/13/09                 Page 50 of 59
Craig A. Molgaard                                                                                                       27


                                      Southwestern Nigeria

90.        Sue Shallow, B.S.          Risk Factors for the Development of Vivax                      1995   Chair
                                      Malaria in a U.S. Marine Battalion in
                                      Somalia

91.        Richard Marks, B.A.        HIV Risk in Migrant Hispanic Farmworkers:                      1995   Chair
                                      Factors Associated with Condom Use with
                                      Prostitutes
92.        Henry Johnson, M.D.        Pedestrian Struck Trauma                                       1995   Chair

93.        Ruth Bush, BA              - Blister Incidence in Male Marine Corps                       1995   Chair
                                        Recruits

94.        Taherah Tabrizi, M.S.      Cancer in Scandinavian Immigrants in the                       1995   Chair
                                      US: 1973-1989

95.        Cynthia Scofield, B.S.     Disseminated Mycobacterium Avium                               1995   Chair
                                      Complex in a Group of San Diego AIDS
                                      Patients: A Screening Procedure to
                                      Monitor Therapy

96.        Thomas Shanks, B.S.        Modeling Lung Cancer Risk with Smoking                         1995   Second Reader
                                      Variables By Multivariate Linear
                                      Regression and Cumulative Damage
                                      Models

97.      -Armida Diaz, B.S.           The Relationship Between Stool                                 1995   Chair
                                      Frequency and Quality of Life in Patients
                                      with Active Mild or Moderate Uicerative
                                                                                ---------- _ _-
      - -- --   -   ---
                                      Colitis· -. --- ------ ----- ------------              ..




98.        David Timberlake, B.S.     Evaluation of Criteria for Classifying                         1995   Chair
                                      Diabetes in an African-American
                                      Population

99.        Jeffrey Alvarez, B.S.      Development of a Spanish Language                              1995   Second Reader
                                      Literacy Assessment Tool

100.       Eric Schultz, B.S.         A Statistical Method for Detecting                             1995   Chair
                                      Aberrations in San Diego Health
                                      Department Data

101.       Kim Kies, B.S.             Violence as a Public Health Issue:                             1997   Chair
                                      Breaking the Cycle of Violence

102.       Judy Neely, B.S.           Montgomery County Community Health                             1999   Chair
                                      Assessment

103.       Ho Hui-Ling, B.S.           Management of Employment During                               1999   Second Reader
                                       Pregnancy: A Survey of US Residency
                                       Directors

104.       Edwin Gabbidon, MA          Gang Violence in Wichita                                      2000   Chair

105.       Margaret Kay Smith, B.S.    Corporate Response to Pregnancy-related                       2000   Second Reader
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Craig A. Molgaard                                                                                               28


                                         Work restrictions: A Pilot Survey

106. Tammy Von Busch,                    Gestational Age at Which Air Force             2000     Second Reader
       DVM.                              Women Presented for an Occupational
                                         Safety Assessment During Pregnancy

107. Barbara Deenihan, B.S.              Menopausal Health Information in Popular       2001     Second Reader
                                         Magazines: An Examination of Topic
                                         Frequencies and Readability Scores
108.   Lolem Ngong, B.S.                 HIV/AIDS In Camaronian Youth                   2001     Chair

109. J'Vonnah Griffith                   Folic Acid Knowledge Among Health Care         2001     Chair
                                         Providers in Sedgwick County, Kansas

110.   Maj. Angelique Likely            The effects of a four-month military            2002     Chair
                                        deployment in the utilization of medicai
                                        services by family members: a historical
                                        cohort control study

111.   Douglas Woolley, M.D.             Comparison of gait speed and hand              2002     Chair
                                         dexterity speed as predictors of adverse
                                         events and increasing dependence in the
                                         aged

112. Alexander Brzezny, M.D.            Community Obesity Initiative: Perceptions       2003     Second Reader
                                        about Infant Feeding in One Northwest
                                        Community

113. Miriam Ibrahim                       Development of Domestic Vioience                2003   Second Reader
               ------- --   -- ---
                                          Educational Materials in Spanish
                                     .. 'language:'Resolts-Of"aFocus'Group'- -- - - - - - _._-
                                          Study

114. Jennifer Keller                    Will Sedgwick County Health Department          2003     Second Reader
                                        Self-Pay Clients Tolerate Increased Fees?
                                        Results of a Focus Group Study

115. Mark Berry                          Process of Health Communication in a           2004     Chair
                                         Local Health Department

116. Steve Werder, DO                    Resources for Managing Substance Abuse         2004     Second Reader
                                         in Crawford County, Kansas

117.    Elizabeth Ablah                   Quantitative Evaluation of                    2004     Chair
                                          "Can It Happen in Kansas:
                                          Response to Terrorism and Emerging
                                          Infections"

118.    Claudia Carman                    Family Presence in the Emergency Room         2004     Chair
                                          or Trauma Suite:
                                          A Survey of Family Members' Opinions

119.    Srinivas Bapoje                   Comparing the effect of a standardized        2005     Third Reader
                                          weight loss program in a cohort of obese
                                          patients with and without type Ii diabetes
                                          mellitus
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 Craig A. Molgaard                                                                                        29



 120.     Merilee Zimbelman         Addressing Physical Inactivity among            2005   Third Reader
                                    Developmentally Disabled Students
                                    through Visual Schedules and Social
                                    Stories

  PROFESSIONAL SOCIETIES AND HONORS:
  Epidemiology Council, Association of Schools of Public Health, 1991-1996.
  Editorial Board, Neuroepidemiology. 1992-1997.
  Board of Directors, San Diego and Imperial Counties Organization for Cancer Control, 1987-1993.
  American Public Health Association
  Phi Beta Delta, Honor Society for International Scholars
  Phi Beta Kappa
  Epidemiology Section Program Committee, American Public Health Association Annual Meeting, 1988-
      1996.
  Core Committee, American Board of Preventive Medicine, National Board of Medical Examiners, 1991-
      1992.
  Moderator, EIS Western Regional Conference, 1993.
  Association of Teachers of Preventive Medicine, 1998-present.
  School Resource Officers Program, 1999-2000.
. Samuel J. Crumbine Medal, Kansas Public Health Association, 2000.
  Editorial Board, Headache, 2001-2002.


 INTERNATIONAL CONSULTING AND RESEARCH:

 Australia:              Department of Preventive Medicine, University of Western Australia, Perth,
                         Australia.

 Denmark:                 Department of Neurology, University of Roskilde, Denmark.

 Finland:                 National Public Health Institute, Helsinki, Finland.

 Great Britain:           Department of Neurology, University of London and Department of Community
                          Medicine, Oxford University.

 India:                   Students Project for Amity Among Nations, Office of International Affairs, Iowa
                          State, University and Hyderabad University, India.

 Japan:                   Balboa Naval Hospital, San Diego, California, and Headquarters, Third Marine
                          Division, Okinawa, Japan.

 Mexico:                 Autonomous University of Baja California, Tijuana, Mexico, and Tijuana General
                         Hospital, Tijuana, Mexico.
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                                            REFERENCES
Amandus (1987)               The Morbidity and Mortality of Vermiculite
                                  Miners and Millers Exposed to Tremolite - Actinolite -
                                  Exposure Estimates," Am J Ind Med 11 :1-14.

Amandus and Wheeler (1987) Part II of The Morbidity and Mortality of
Vermiculite Miners and Millers Exposed to Tremolite - Actinolite - Exposure
Estimates," Am J Ind Med 11(1):15-26.

ATS (1991)                   Lung Function Testing: Selection of Reference Values and
                             Interpretative Strategies, Am Rev Respir Dis 1991;
                             144:1202-1218

ATS (2004)                   Diagnosis and Initial Management of Non-Malignant
                             Diseases Related to Asbestos Am J Respir Crit Care Med
                             170:691-715

ATS (2004)                   Official Statement, Diagnosis and Initial Management of
                             Non-malignant Diseases Related to Asbestos, Am J Respir
                             Crit Care Med, vol. 170: 691-715 (2004).

ArSQR(Aljg. 2()O;n .                 Review of Asbestos Related Abnormalities Among a
                                     GroupofP1ifients fromU5by~Montana- A Pilot .. -
                                     Study of "Environmental Cases - Final Report."

ATSDR (2002)                 Mortality in Libby, Montana 1979-1998, http://www.atsdr.
                             cdc.gov/asbestos/sites/libbLmontana/mortalitLreview.html,
                             accessed August 17,2007.

Jones (1989)                 Progression of Asbestos Effects, Br J Ind Med 1989;
                             46:97-105

Kleinbaum, Kupper,
and Morganstern (1992) Epidemiologic Research, Wiley & Sons, 1982.

Kurland and Molgaard (1981) "The Patient Record in Epidemiology," 245(4):
                            54-64.

Last (2001) A Dictionary of Epidemiology, 4th Ed., Oxford University Press.


Surrebuttal Report of Dr. Molgaard                                                      5/18/09
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Markowitz (1997) Clinical Predictors of Mortality from Asbestosis in the North
                        American Insulator Cohort, 1981 to 1991, Am J Res Crit
                        Care Med 1997,156:101-108.

McDonald (1988) Health of Vermiculite Miners Exposed to Trace
                      Amount of Fibrous Tremolite Br J Ind Med 43:630-
                      634.

McDonald (2004) Mortality in a Cohort of Vermiculite Miners Exposed
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